   Case: 1:23-cv-06296 Document #: 50-2 Filed: 11/27/23 Page 1 of 2 PageID #:2196




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

FLEXLATCH LLC,

                Plaintiff,                            Case No. 23-cv-06296
        v.
                                                      Honorable Andrea R. Wood
THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS                           Magistrate Judge Jeffrey T. Gilbert
IDENTIFIED ON SCHEDULE A,

                Defendants.

                DECLARATION OF SHRUTI AGGARWAL ISO
      DEFENDANT NINGBO YINGLI ELECTRICAL APPLICANCES CO., LTD.’S
          MOTION TO MODIFY PRELIMINARY INJUNCTION ORDER

        I, Shruti Aggarwal, declare:

        1.      I am an associate at the law firm of ScienBiziP, P.C. I am over the age of

eighteen years. I make this declaration based upon my personal knowledge and am competent to

testify to the matters stated herein.

        2.      I have reviewed the partial screenshots of the accused listings provided by

Plaintiff’s counsel as part of their evidence of copyright infringement and counterfeiting. The

partial screenshots of the accused product listings provided by Plaintiff’s counsel do not contain

the alleged copyrighted photographs identified in the Complaint. Attached as Exhibit 3 is a true

and correct copy of the alleged evidence of infringement provided by Plaintiff’s counsel

including these partial screenshots.



        I declare under the penalty of perjury of the United States that the foregoing is true and

correct.

        Executed on this 22nd day of November 2023, at Los Angeles, California.
Case: 1:23-cv-06296 Document #: 50-2 Filed: 11/27/23 Page 2 of 2 PageID #:2197




                                                   /s/ Shruti Aggarwal
                                                      Shruti Aggarwal




                                      2
